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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 19-14085-CIV-ROSENBERG/MAYNARD

   TOWNHOUSE RESTAURANT OF OVIEDO, INC. AND
   ESTERO BAY HOTEL CO.,

   Plaintiffs,

   v.

   NuCO2, LLC,

   Defendant.
   _______________________________________________/

        ORDER ON PLAINTIFFS’ MOTION TO COMPEL AND FOR SANCTIONS (DE 85)

            THIS CAUSE comes before this Court upon the above Motion. Following a hearing held

   on May 4, 2020, the undersigned directed the parties orally, and in the Order Memorializing

   Hearing, to select approximately 300 exemplar emails, plus attachments, from Defendant’s

   privilege logs for in camera review. DE 91. On May 15, 2020, Defendant provided exemplar

   emails and accompanying attachments selected by both parties. This Court has considered the

   emails and attachments. 1 Having reviewed the materials submitted for in camera inspection, as

   well as the Motion, Response, and relevant case law, the undersigned resolves Plaintiffs’ Motion

   as follows.

                                                  BACKGROUND

            Plaintiffs Townhouse Restaurant of Oviedo, Inc. and Estero Bay Hotel Co. (collectively

   “Plaintiffs”) filed a class action complaint against Defendant NuCO2, a beverage carbonation



   1
     The Defendant submitted a representative sample of 353 emails to the Court. The majority of these included attached
   documents, for a total of approximately 992 items for the Court’s review. On June 3, 2020, the Defendant provided
   the Court with five additional documents—with attachments—that were inadvertently omitted from the first sample.
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   company wholly owned by Praxair, Inc., the largest industrial and medical gases company in North

   America. The Defendant sells carbon dioxide and related equipment at a fixed price through use

   of a form contract. The form contract allows the Defendant to charge its customers (who are

   located nationwide) fuel and energy surcharges and implement “open escalation” price increases

   to pass-through certain costs the Defendant incurs in providing its goods and services. The

   Plaintiffs claim the Defendant engaged in deceptive and unfair conduct in connection with these

   surcharges and price increases. Specifically, the Plaintiffs allege that the additional costs charged

   to the Defendant’s customers are actually a “hidden profit device” and have no relation to any

   increased costs purportedly incurred by the Defendant.

          Since this litigation began, the Defendant has produced approximately five different

   privilege logs asserting privilege over thousands of emails and attachments. On April 16, 2020,

   the Plaintiffs filed a Motion to Compel arguing that the privilege logs were deficient in several

   respects. That motion is now ripe for review.

                                             DISCUSSION

     I.   The Parties’ Dispute

          Defendant argues that most of the disputed documents are wholly irrelevant to the case and

   therefore not discoverable under Rule 26 of the Federal Rules of Civil Procedure. The remaining

   documents are protected, Defendant contends, by the attorney-client privilege, the accountant-

   client privilege, and the confidentiality typically afforded to settlement negotiations. Plaintiffs

   respond that all the documents at issue are presumably relevant because they were identified

   through keyword searches using terms agreed upon by both the parties. Further, Plaintiffs say

   Defendant has not met the elements of the accountant-client privilege for documents withheld on

   that basis and that courts have not recognized a privilege regarding “settlement negotiations.”


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   Lastly, Plaintiffs argue that attorney-client privilege does not protect emails that contain “mere

   facts and customer files” or communications that do not involve attorneys or legal staff. The

   undersigned will address each argument in turn.

    II.   The Burden of Proof

          “The discovery respondent bears the burden of establishing a lack of relevancy or some

   other basis for resisting production." Safeco Ins. Co. of Am. v. Weissman, 2018 WL 7046634, at

   *2 (S.D. Fla. Sept. 5, 2018). The party asserting a privilege has the burden of proving the

   applicability of that privilege. Commercial Long Trading Corp. v. Scottsdale Ins. Co., 2012 WL

   6850675, at *2 (S.D. Fla. Dec. 26, 2012); Bridgewater v. Carnival Corp., 286 F.R.D. 636, 638

   (S.D. Fla. 2011). This burden is not met by conclusory claims that a privilege applies. MapleWood

   Partners, L.P. v. Indian Harbor Ins. Co., 295 F.R.D. 550, 584 (S.D. Fla. 2013). Rather, courts

   require that a party asserting privilege provide “specific detail as to the content of documents and

   their authors and recipients . . . in order to permit meaningful judicial review of the asserted

   privilege.” Id. In other words, “[t]he [c]ourt should not have to guess or speculate about the

   applicability of the privilege, for the party asserting it has the affirmative duty to demonstrate that

   it applies to each document or communication sought to be disclosed.” Wyndham Vacation

   Ownership, Inc. et al. v. Reed Hein & Associates, LLC, et al., 2019 WL 9091666, at *7 (M.D. Fla.

   Dec. 9, 2019) (quoting Purdee v. Pilot Travel Centers, LLC, 2008 WL 11350099, at *1 (S.D. Ga.

   Feb. 21, 2008) (internal quotations omitted).

          To have this burden of proof means that the party asserting a privilege is aware that it must

   produce specific factual support and legal authority to establish that each element of the specific

   privilege applies to each communication that they claim is protected from disclosure. Campero

   USA Corp. v. ADS Foodservice, LLC, 916 F. Supp. 2d 1284, 1293 (S.D. Fla. 2012) (emphasis


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   added). If the party does not provide enough information to establish this, then the claim of

   privilege fails. MapleWood Partners, L.P., 295 F.R.D. at 584; Bridgewater v. Carnival Corp., 286

   F.R.D. at 639.

   III.   Analysis

      A. Relevance

          Defendant contends that most of the withheld documents are irrelevant and therefore not

   discoverable under Rule 26. Plaintiffs responds that these documents are presumably relevant

   since they contain the parties’ agreed upon search terms. Under the Federal Rules, discovery is

   very broad. And it was intended to be this way: the adoption of the Federal Rules meant that

   discovery “no longer need be carried on in the dark.” Hickman v. Taylor, 67 S.Ct. 385, (1946).

   Although recent amendments to Rule 26(b) have altered the language since Hickman, the

   governing principle behind discovery—that it is to be a broad, inclusive process designed to

   facilitate the open exchange of information—remains true to this day. 8 Charles Alan Wright &

   Arthur R. Miller, Federal Practice and Procedure, § 2007 (3d ed. 2020). The text of Rule 26

   enables broad discovery stating that “parties may obtain discovery regarding any nonprivileged

   matter that is relevant to any party’s claim or defense and proportional to the needs of the case[.]”

   Fed. R. Civ. P. 26(b)(1). But broad as the rule may be, the Court retains the power to limit the

   extent of discovery if it finds the proposed discovery exceeds the scope allowed under Rule

   26(b)(1). Fed. R. Civ. P. 26(b)(2)(C)(iii).

          Relevancy is key to determining the proper scope of discovery. To be relevant, the

   information sought must be “germane, conceivably helpful to the plaintiff, or reasonably

   calculated to lead to admissible evidence.” Donahay v. Palm Beach Tours & Transp., Inc., 242

   F.R.D. 685, 687 (S.D. Fla 2007). Although the disclosed information need not be admissible as


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   evidence, the information must relate to the claims and defenses raised, rather than the general

   subject matter. Id. While a party cannot prematurely limit discovery by decrying any request as

   a “fishing expedition,” the information sought must still be relevant to the issue before the court.

   See Hickman, at 392; Kahn v. United States, 2015 WL 4112081, at *2 (S.D. Fla. July 8, 2015)

   (stating that discovery requests must be relevant to a party’s claim).

          The relevancy determination has taken on increased importance given the vast amounts of

   electronically stored information often involved in civil litigation today. A great deal of

   communication occurs by email, for example, which has fundamentally altered the discovery

   process. The sheer volume of emails, attachments, digital files, and electronic data can become a

   major source of hardship during the discovery process. See The Sedona Conference, The Sedona

   Conference Best Practices Commentary on The Use of Search & Information Retrieval Methods

   in E-Discovery, 15 Sedona Conf. J. 217, 228–29 (2017) (discussing the proliferation of e-storage

   and the challenges such practices pose to litigants). Fortunately, technology offers a remedy in

   the form of keyword searches that may be used to locate responsive documents and limit excessive

   discovery. Id. Although keyword searches help eliminate problems, they can create issues of their

   own as well. One problem with keyword searches is their potential to be over or underinclusive.

   The degree to which the search terms either exclude or include relevant documents can have an

   immense effect on the number of documents produced. See L-3 Commc’ns Corp. v. Sparton Corp.,

   313 F.R.D 661, 666 (M.D. Fla. 2015) (discussing challenges presented by the search term process

   and the factors that create accurate search terms).

          Having conducted an in camera review, this Court agrees with Defendant that the vast

   majority of the disputed documents are entirely irrelevant to this case. If in fact they emerged

   from the use of agreed upon search terms, perhaps those terms needed to be further narrowed or


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   only applied to information held by certain custodians or divisions within NuCO2. As it stands,

   most of the documents submitted relate to issues regarding state or local regulatory requirements,

   safety standards and permitting processes, mergers and acquisitions of NuCO2 or its clients, and

   other prospective business opportunities. These subject matters are not germane to the case, helpful

   to the Plaintiffs or reasonably likely to lead to admissible evidence. Because these documents are

   irrelevant, Defendant is not required to produce them. Thus, Plaintiffs’ Motion to Compel the

   documents listed in Attachment A is denied on relevancy grounds.

      B. Accountant-Client Privilege

          The next category of documents involves three emails and accompanying attachments that

   NuCO2 claims are protected by the accountant-client privilege. Under Florida law, confidential

   communications between an accountant and client are protected when the communications

   involved were made for the purpose of accounting services:

                  A client has the privilege to refuse to disclose, and to prevent any
                  other person from disclosing, the contents of confidential
                  communications with an accountant when such other person learned
                  of the communications because they were made in the rendition of
                  accounting services to the client. This privilege includes other
                  confidential information obtained by the accountant from the client
                  for the purpose of rendering accounting advice.

   Fla. Stat. § 90.5055. “A communication between an accountant and the accountant’s client is

   confidential if it is not intended to be disclosed to third persons other than: (1) those to whom

   disclosure is in furtherance of the rendition of accounting services to the client; and (2) those

   reasonably necessary for the transmission of the communication.” TIC Park Ctr. 9, LLC v. Cabot,

   2017 WL 9988745, at *9 (S.D. Fla. June 9, 2017) (citing Fla. Stat. § 90.5055(1)(c)).

          This Court need not extensively discuss the accountant-client privilege because it does not

   apply to any of the documents submitted for this Court’s review.        Defendant submitted three


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   documents that it claims are confidential accountant-client advice: NuCO2_Priv_932,

   NuCO2_Priv_934, and NuCO2_Priv_968. The first two documents relate to technical issues

   NuCO2 experienced with its automatic billing technology. There is no advice from an accountant

   involved. The third document includes some accounting advice, but NuCO2 is sharing that advice

   with a customer so it clearly was not meant to be confidential and kept from disclosure to third

   parties.     Thus, these emails and their accompanying attachments are not protected by the

   accountant-client privilege. NuCO2_Priv_932, NuCO2_Priv_934, and NuCO2_Priv_968 are

   included in Attachment A, however, because they are not relevant to the pending litigation. As a

   result, the Plaintiffs’ Motion to Compel NuCO2_Priv_932, NuCO2_Priv_934, and

   NuCO2_Priv_968 is denied on relevancy grounds.

              Since none of the documents NuCO2 claimed were protected by the accountant-client

   privilege actually warrant such protection, the Court is concerned that other documents are being

   improperly withheld on this basis. Consequently, the Defendant is instructed to re-review any

   document withheld based on the accountant-client privilege to ensure that it meets all of the legal

   requirements. Any document previously withheld under the accountant-client privilege that is

   relevant and does not meet the requirements of this privilege must be turned over to the Plaintiffs

   within ten (10) days of this Order.

       C. Settlement Negotiations


              NuCO2 withholds several documents on the basis that they reveal confidential “settlement

   negotiations.” In support, NuCO2 relies on Goodyear Tire & Rubber Co. v. Chiles Power Supply,

   Inc., 332 F.3d 976, 980 (6th Cir. 2003), in which the Sixth Circuit held that communications made

   in furtherance of settlement negotiations are privileged and protected from discovery by litigants

   in another action. Id. Goodyear is not binding on this Court, however. Indeed, courts in this

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   circuit have rejected the argument that settlement agreements have special protection from

   discovery. See Kadiyala v. Pupke, 2019 WL 3752654 (S.D. Fla. Aug. 8, 2019) (Matthewman, J.)

   (reviewing cases and finding no privilege protecting settlement agreements from disclosure);

   United States ex rel. Cleveland Constr., Inc. v. Stellar Grp., Inc., 2017 WL 11460973, at *1 (M.D.

   Ga. Oct. 23, 2017) (declining to “invent” a settlement agreements privilege); Jeld-Wen, Inc. v.

   Nebula Glass Intern., Inc., 2007 WL 1526649, at *3 (S.D. Fla. May 22, 2007) (Torres, J.) (noting

   that there is “nothing magical” about settlement agreements and no binding or persuasive authority

   in the Eleventh Circuit instructing otherwise).

          The undersigned rejected the idea of a settlement agreement privilege in Silver Streak

   Trailer Co., LLC v. Thor Indus., Inc., 2018 WL 8367073, at *7 (S.D. Fla. Nov. 15, 2018):

                  Confidentiality and relevancy considerations are the typical barriers
                  to permitting discovery of settlement agreements. Virtual Studios,
                  Inc. v. Royalty Carpet Mills, Inc., 2013 WL 12090122, at *4 (N.D.
                  Ga. Dec. 23, 2013). However, “[d]espite the salutary purposes of
                  preserving confidentiality to encourage settlements, under
                  appropriate circumstances courts have the authority to encroach
                  upon such agreements.” Gutter v. E.I. DuPont de Nemours & Co.,
                  2001 WL 36086590, at *1 (S.D. Fla. Jan. 31, 2001). Even Federal
                  Rule of Evidence 408, which limits the admissibility of settlement
                  negotiations, “does not create a settlement privilege for purposes of
                  discovery or make settlement agreements and negotiations per se
                  undiscoverable.” Kipperman v. Onex Corp., 2008 WL 1902227, at
                  *9 (N.D. Ga. Apr. 25, 2008). The undersigned recognizes the
                  interests third parties have in the confidentiality of settlement
                  agreements, but litigants cannot shield settlement agreements from
                  discovery solely based on confidentiality if the agreement is relevant
                  to the action, or likely to lead to relevant evidence. Gutter, 2001 WL
                  36086590, at *1; Channelmark Corp. v. Destination Prod. Int’l,
                  Inc., 2000 WL 968818, at *2 (N.D. Ill, July 7, 2000).

          In this circuit, the caselaw makes clear that the touchstone for whether settlement

   agreements must be disclosed is relevance. Virtual Studios, Inc. v. Royalty Carpet Mills, Inc.,

   2013 WL 12090122, at *4 (N.D. Ga. Dec. 23, 2013); Mohamed v. Columbia Palms W. Hosp.

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   P'ship, 2006 WL 8435429, at *4 (S.D. Fla. Oct. 30, 2006); Norton v. Bank of Am., N.A., 2006 WL

   8432180, at *9-10 (S.D. Fla. Apr. 27, 2006). Consequently, NuCO2 may not withhold settlement

   documents that are relevant to the litigation. A list of relevant, non-privileged documents

   previously withheld as settlement negotiations is found at Attachment B. Plaintiffs’ Motion to

   Compel the documents listed in Attachment B is granted. These documents must be turned over

   to the Plaintiffs within ten (10) days of this Order. The interest in confidentiality as to these

   documents may be adequately addressed by the stipulated protective order at docket entry 38.

           NuCO2 is not required to turn over settlement documents that are irrelevant or otherwise

   privileged. Settlement documents that are irrelevant are listed in Attachment A and Plaintiffs’

   Motion to Compel them is denied. Plaintiffs’ Motion to Compel is also denied as to settlement

   documents that are relevant but protected by the attorney-client privilege.          Attorney-client

   privilege documents are discussed below.

       D. Attorney-Client Privilege

           In federal court, federal common law typically governs the application of attorney-client

   privilege. Fed.R. Evid. 501. When a federal court is sitting in diversity jurisdiction, however,

   state law governs. Id.; In re 3M Combat Arms Earplug Prod. Liab. Litig., 2020 WL 1321522, at

   *4 (N.D. Fla. Mar. 20, 2020); Bivins v. Rogers, 207 F. Supp. 3d 1321, 1324 (S.D. Fla. 2016). The

   parties are before this Court by virtue of its diversity jurisdiction under 28 U.S.C. § 1332(d).

   Because Florida law provides the rule of decision, Florida law determines the applicability of

   attorney-client privilege. See Burrow v. Forjas Taurus S.A., 334 F. Supp. 3d. 1222, 1233 (S.D.

   Fla. 2018) (“State law governs the application of the attorney-client privilege in a federal diversity

   action.”).




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          Under Florida law, “[a] client has a privilege to refuse to disclose, and to prevent any other

   person from disclosing, the contents of confidential communications when such other person

   learned of the communications because they were made in rendition of legal series to the client.”

   Fla. Stat. § 90.502(2) (2019). Stated more succinctly by the Florida Supreme Court, attorney-client

   privilege applies to “confidential communications made in the rendition of legal services to the

   client.” Burrow, 334 F. Supp. 3d at 1233 (citation omitted). “A communication between lawyer

   and client is confidential if it’s not intended to be disclosed to third persons other than (1) those to

   whom disclosure is in furtherance of the rendition of legal services to the client[,] [and] (2) those

   reasonably necessary for the transmission of the communication.” Fla Stat. § 90.502(1)(c).

          The application of attorney-client privilege requires the weighing of conflicting policy

   considerations. On the one hand, the underlying purpose of the attorney-client privilege is to

   encourage clients to communicate openly with their attorneys. In re Abilify (Aripiprazole) Product

   Liability Litigation, 2017 WL 6757558, *2 (N.D. Fla. Dec. 29, 2017). On the other hand, attorney-

   client privilege obstructs the truth-seeking process and contravenes the fundamental principle that

   the public has the right to view the evidence. See MapleWood Partners, L.P., 295 F.R.D. at 583

   (discussing the competing policy concerns raised by attorney-client privilege). This tension—

   between encouraging transparency between counselor and client and promoting the truth-seeking

   inquiry of the adversarial process—is heightened when the client asserting the privilege is a

   corporation.

          When the client is a corporate entity, there is heightened risk that the attorney-client

   privilege will be used to hide information. Burrow, 334 F. Supp. 3d at 1223. Standard corporate

   email practices—undoubtedly guided by the fallacious notion that a paragraph or label claiming

   privilege makes it so—encourage the inclusion of in-house counsel in communications that do not


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   pertain to legal advice or srvices. This potential for abuse has led the Florida Supreme Court to

   provide further guidance for the application of attorney-client privilege in the corporate context:

   Corporate clients’ claims of attorney-client privilege are subject to heightened scrutiny. Southern

   Bell Tel. & Tel. Co. v. Deason, 632 So.2d 1377, 1383 (Fla. 1994). When the party asserting the

   privilege is a corporation, it bears the burden of proving that “the communication would not have

   been made but for the contemplation of legal services; … the content of the communication relates

   to the legal services being rendered; and the communication is not disseminated beyond those

   persons who, because of the corporate structure, need to know its contents.” Preferred Care

   Partners Holding Corp. v. Humana, 258 F.R.D. 684 (S.D. Fla. 2009) (quoting 1550 Brickell

   Assocs. v. Q.B.E. Ins. Co., 253 F.R.D. 697, 699 (S.D. Fla. 2008)).

          Plaintiffs complain that Defendant wrongfully asserts attorney-client privilege over emails

   that do not involve lawyers or legal staff. DE 85 at 5 (complaining that “[m]ore than 29% of the

   documents NuCO2 withheld do not contain an attorney or attorney-staff on them”).              Plaintiffs

   insist that if attorneys do not participate in an email communication, that email cannot be protected

   by the attorney-client privilege. Plaintiffs’ position is incorrect. It is not necessary for an attorney

   or legal staff to be a party to a communication to make it privileged. While the lack of any attorney

   involvement may be a factor tending to weigh against a finding of privilege, “[t]he ultimate

   touchstone for application of the privilege … is whether the communication revealed advice from,

   or a request for advice made to, an attorney in some fashion.” United States v. Davita, Inc., 301

   F.R.D. 676, 682 (M.D. Ga. 2014). Just as the lack of an attorney on an email does not necessarily

   render that email discoverable, an attorney’s participation on the email chain does not necessarily

   establish privilege either. See Burrow, 334 F. Supp. 3d. at 1236 (stating that a communication is

   not privileged by virtue of an attorney’s presence). “Defendants must show, irrespective of


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   whether one or [any] lawyer[] sent or received the communication, that the communication was

   confidential and that the primary purpose of the communication was to relay, request, or transmit

   legal advice.” Id. The identity of the sender or recipient is not the important consideration, what

   is important is the subject matter of the communication and whether it reveals legal services or

   advice. If two business employees exchanged emails concerning the collection of documents for

   the purpose of requesting legal advice, such a communication would be privileged despite no

   lawyers being involved. Conversely, if in-house counsel sent a business employee an email

   containing his or her feedback on the effectiveness of a recent marketing strategy, that email would

   not magically become privileged because it was sent by in-house counsel. In re Denture Cream

   Products Liability Litigation, 2012 WL 5057844, *10 (S.D. Fla. Oct. 18, 2012). Regardless of

   whether a communications’ participants include lawyers, the party asserting attorney-client

   privilege carries the burden of showing that the primary purpose of the communication in question

   was to obtain legal advice. Preferred Care Partners, 258 F.R.D. at 689.

          Most of the emails NuCO2 refuses to disclose are in fact protected by the attorney-client

   privilege. The privileged emails largely involve in-house counsel providing legal advice to

   NuCO2 managers or responding to legal inquiries or concerns. Some of the emails are between

   NuCO2 managers and employees, and do not involve lawyers or legal staff. Yet, that is not fatal

   to Defendant’s privilege claim. Emails in which employees transmit legal advice received from

   counsel between themselves or request information from one another in order to seek legal advice

   remain privileged despite no lawyer being on the email thread. Attachment C lists all documents

   reviewed in camera that are protected by the attorney-client privilege. Plaintiffs’ Motion to

   Compel the documents in Attachment C is denied on privilege grounds.




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          Some of the emails on NuCO2’s privilege logs do not meet the elements of the attorney-

   client privilege, however. Attachment D sets forth the emails and attachments that are not

   protected by the attorney-client privilege and which must be turned over in this case. Plaintiffs’

   Motion to Compel the documents in Attachment D is granted.

          As a final point, this Court notes that many of the emails that NuCO2 claims are privileged

   were transmitted with multiple documents attached.          Plaintiffs complain that the attached

   documents are “mere facts and customer files” that do not become privileged just by being attached

   to a privileged email communication.       This Court agrees with Plaintiffs’ position, generally

   speaking. See In re Abilify, 2017 WL 6757558 at *7 (“Simply because factual information has

   been transmitted to an attorney does not make the underlying factual information privileged.”). At

   the same time, factual information that has been gathered and transmitted by corporate employees

   to an attorney for the purpose of receiving legal advice may be privileged, even if such information,

   by itself, would not otherwise be protected from disclosure. Id.

          In Upjohn Co. v. United States, 101 S.Ct. 677 (1981), the Supreme Court set out the basic

   relationship between privileged attorney-client communications and factual information

   accompanying those communications: “The privilege only protects disclosure of communications;

   it does not protect disclosure of the underlying facts by those who communicated with the

   attorney.” Id. at 685. This principle was reiterated by the Florida Supreme Court in Deason, 632

   So.2d at 1387. But Deason clarified that even factual information can be withheld when its

   disclosure would reveal the substance of legal advice. Id. In Deason, counsel sought to depose

   corporate managers of Southern Bell to find out about disciplinary actions taken against certain

   employees. The managers had no firsthand knowledge of these issues; their only knowledge was

   based on their review of information obtained from their lawyers. The Deason Court explained:


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                  The instant case presents the difficulty of deciphering the
                  communication from the underlying facts. Public Counsel claims
                  that it did not ask the deponents what the company attorneys told
                  them; rather, Public Counsel only asked why the employees were
                  disciplined or what actions of the employees resulted in discipline.
                  Differentiating between these questions is merely a game of
                  semantics. The privileged information which counsel gave to the
                  managers describes the actions of the employees. To answer Public
                  Counsel’s questions regarding the specific reasons the employees
                  were or were not disciplined would necessarily require the
                  deponents to reveal the contents of the privileged communication.
                  Public Counsel cannot obtain indirectly through depositions that
                  information which the law does not permit it to obtain directly
                  through disclosure of the written privileged communication.
                  Therefore, Public Counsel and the PSC are restricted from
                  questioning the deponents in a manner that would require them to
                  reveal the content of the communication.

   Id. at 1387.

          In considering whether documents attached to privileged communications are protected,

   the Court must first consider whether the content of the attachment is a communication or a fact.

   See Upjohn, 449 U.S. at 395-96 (the privilege applies only to communications and does not extend

   to facts). If the attachment contains a communication, the Court must consider whether it

   evidences a request for legal assistance or the transmission of legal advice. U.S. ex rel. Baklid-

   Kunz v. Halifax Hosp. Med. Cent., 2012 WL 5415108, *3 (M.D. Fla Nov. 6, 2012). If the

   attachment contains facts and not communications, the Court must evaluate whether disclosure of

   the facts would somehow reveal a request for, or the content of, legal advice. See Deason, 632

   So.2d at 1387. As Deason explained, Plaintiffs cannot obtain indirectly (through documents

   attached to privileged emails) that which they could not obtain directly from the privileged

   communications themselves.      Compare Consumer Financial Protection Bureau v. Ocwen

   Financial Corp., 2019 WL 1119788, *3 (S.D. Fla. Mar. 12, 2019) (declining to compel disclosure

   of factual information curated and re-formatted by attorneys for the purpose of providing legal


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   advice), with U.S. ex rel. Baklid-Kunz, 2012 WL 5415108 at *7 (compelling disclosure of factual

   information that did not reflect legal advice or information transmitted to counsel for the purpose

   of obtaining legal advice).

          With these legal principles in mind, the undersigned reviewed each email and attachment

   separately to determine whether the attorney-client privilege applies. For purposes of this review,

   the undersigned refers to the cover email as the “parent” email, each attachment as a “child”

   document, and the email plus attachments as an email “family.” Where one or some child

   documents need be treated differently from the parent email in a single email family, Attachment

   E explains the undersigned’s ruling. Plaintiffs’ Motion to Compel the documents in Attachment

   E is granted in part and denied in part based on the undersigned’s specific instructions. Where

   Attachment E indicates that a document, or a portion thereof, must be turned over, Defendant must

   do so within ten (10) days of this Order.

      E. Sanctions

          Plaintiffs also move to sanction Defendant should the Court grant any part of their Motion.

   Rule 37(a)(5)(A) of the Federal Rules of Civil Procedure provides that where a motion to compel

   is granted, the court must require the party or attorney whose conduct necessitated the motion, or

   both, “to pay the movant’s reasonable expenses incurred in bringing the motion, including

   attorney’s fees.” Rule 37(a)(5)(A). The Rule goes on to state, however, that payment shall not be

   ordered if the opposing party’s nondisclosure was substantially justified.              Fed.R.Civ.P.

   37(a)(5)(A)(ii).   This Court has conducted a thorough review of the documents submitted and

   determined that the vast majority were properly withheld from disclosure. Therefore, NuCO2’s

   position was substantially justified and the Plaintiffs’ request for sanctions is denied.




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                                                 CONCLUSION

           Accordingly, for the reasons set forth above, it is therefore,

           ORDERED AND ADJUDGED that the Plaintiffs’ Motion to Compel as it relates to

   documents in Attachment A is DENIED. It is further,

           ORDERED AND ADJUDGED that the Plaintiffs’ Motion to Compel as it relates to

   documents in Attachment B is GRANTED. The Defendant shall produce both the exemplar

   documents in Attachment B and all comparable documents within ten (10) days of this Order. It

   is further,

           ORDERED AND ADJUDGED that the Plaintiffs’ Motion to Compel as it relates to

   documents in Attachment C is DENIED. It is further,

           ORDERED AND ADJUDGED that the Plaintiffs’ Motion to Compel as it relates to

   documents in Attachment D is GRANTED. The Defendant shall produce both the exemplar

   documents in Attachment D and all comparable documents within ten (10) days of this Order. It

   is further,

           ORDERED AND ADJUDGED that the Plaintiffs’ Motion to Compel as it relates to

   documents in Attachment E is GRANTED in part. The Defendant shall produce the exemplar

   documents as instructed in Attachment E and all comparable documents within ten (10) of this

   Order. Plaintiffs’ Motion to Compel the remaining documents in Attachment E is otherwise

   DENIED. It is further,

           ORDERED AND ADJUDGED that the Defendant shall re-review all documents

   withheld on the basis of accountant-client privilege to ensure that they meet the requirements of

   the accountant-client privilege. Specifically, any document withheld on the basis of accountant-

   client privilege must contain confidential communications made by an accountant in rendering


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   accounting services to NuCO2, or confidential information obtained by the accountant from

   NuCO2 for the purpose of rendering accounting advice. The Defendant shall produce any

   documents that are relevant and not protected by the accountant-client privilege within ten (10)

   days of this Order. It is further,

           ORDERED AND ADJUDGED that the Plaintiffs’ request for an award of fees and costs

   incurred in bringing their Motion is DENIED.

           DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 24th day of June, 2020.




                                                      ____________________________________
                                                      SHANIEK M. MAYNARD
                                                      UNITED STATES MAGISTRATE JUDGE




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                                              ATTACHMENT A
                                       NOT RELEVANT/ DO NOT PRODUCE

         BATES NUMBER                                              DESCRIPTION
       NuCO2_Priv_0230                Communication between members of the legal department and
                                      business employees. The purpose of the communications is to
                                      discuss the status of company assets that could be exposed during a
                                      customer’s bankruptcy proceedings. 1
       NuCO2_Priv_246                 Senior Counsel sent business employee form contracts used by
                                      NuCO2 for sourcing materials as a customer.
       NuCO2_Priv_392                 Email chain between NuCO2 employees and in-house counsel in
                                      reference to allegations of property damage.
       NuCO2_Priv_836                 Email chain between business employees and in-house counsel.
                                      The subject matter was dispute resolution between NuCO2 and a
                                      customer.
       NuCO2_Priv_929                  Email chain involving in-house counsel and business employees.
                                      The subject matter is litigation.
       NuC02_Priv_0986                Email chain between business employees requesting approval for
                                      customer service agreement.
       NuCO2_Priv_1040                In-house counsel providing notice of proposed settlement
                                      agreement for dispute in NuCO2_Priv_836.
       NuCO2_Priv_1098                Email chain between in-house legal staff and business employees
                                      discussing the similarities between NuCO2 form agreements and
                                      the competitor’s new agreement.
       NuCO2_Priv_1126X               Business employee sent in-house counsel a form he requested
                                      concerning the dispute in NuCO2_Priv_1040.
       NuCO2_Priv_1134                Email chain between in-house counsel and business employees
                                      relating to potential litigation.
       NuCO2_Priv_1190                In-house counsel informing business employee of correspondence
                                      received from a customer’s attorney.
       NuCO2_Priv_1235                Business employee requested legal advice relating to NuCO2’s
                                      obligations as a purchaser of equipment.
       NuCO2_103801                   Company materials detailing a CO2 delivery system.
       NuCO2_153419                   Email chain with several business employees discussing a potential
                                      safety issue from a customer’s tanks.
       NuCO2_157993                   Email thread involving senior business employees and in-house
                                      counsel regarding a contract issue.
       NuC02_165133                   Business employee informing another business employee of a
                                      message from outside counsel.
       NuCO2_170882                   Redacted section involves a dispute over a contract provision and
                                      the governing law of the customer’s state.
       NuCO2_170951                   Business employees discussed a customer’s tank and a potential
                                      safety issue that was alleged.

   1
    Italics are used in Attachment A to identify documents that may be protected by the attorney-client privilege in
   addition to being irrelevant.

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        BATES NUMBER                                  DESCRIPTION
      NuCO2_171636        Business employees exchanged emails regarding insurance
                          coverage for a service agreement.
      NuCO2_171940        Business employees communicated among each other regarding a
                          competitor’s allegations of a safety violation created by NuCO2.
      NuCO2_172518        In-house counsel emailed business employee to discuss a NuCO2
                          agreement.
      NuC02_172993        Teleconference meeting request for a bid proposal.
      NuC02_178834        Internal business documents outlining a CO2 monitoring system.
      NuC02_Priv_ 18      Additional emails from in-house counsel and business employees
                          discussing the dispute in NuCO2_170882.
      NuC02_Priv_56       Email thread between in-house counsel and business employees
                          regarding a contested issue with a customer.
      NuC02_Priv_119      Additional emails from the tax dispute in NuCO2_Priv_56.
      NuC02_Priv_127      Additional emails from NuCO2_Priv_56 and NuCO2_Priv_119.
      NuC02_Priv_608      Legal staff requested a document retention hold.
      NuC02_Priv_873      Legal assistant emailed business employee regarding document
                          retention due to possible FTC oversight due to merger.
      NuC02_Priv_1042     Additional emails relating to NuCO2_Priv_1040 and
                          NuCO2_Priv_836.
      NuCO2_Priv_938      Business employees and in-house counsel discussed legal issues
                          involving a former customer.
      NuCO2_Priv_16       Communications and documents concerning the business and
                          financial information of a company NuCO2 seems unlikely to
                          acquire.
      NuCO2_Priv_108      Template form agreements concerning a NuCO2 affiliated
                          company.
      NuCO2_Priv_121      Communications and documents concerning a NuCO2 affiliated
                          company and a third party.
      NuCO2_Priv_639      Documents outlining things to consider before acquiring new
                          companies and integrating them.
      NuCO2_Priv_723      Evaluation of a company NuCO2 plans to acquire.
      NuCO2_Priv_729      Evaluation of a company NuCO2 plans to acquire.

      NuCO2_Priv_810      Evaluation of a business opportunity.
      NuCO2_Priv_838      Communications regarding California Carbon Auction results.

      NuCO2_Priv_847      Communication regarding a new offer for acquisition.

      NuCO2_Priv_856      Acquisition summary and model for a company.
      NuCO2_Priv_857      Acquisition summary and model for a company.

      NuCO2_Priv_858      Presentation on an acquisition summary.




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        BATES NUMBER                                DESCRIPTION
      NuCO2_Priv_868      Transmission of the financial analysis of the Miami branch of a
                          company.
      NuCO2_Priv_870      Documents relating to an acquisition project.

      NuCO2_Priv_876      Documents relating to integration planning, largely the same as
                          NuCO2_Priv_639.
      NuCO2_Priv_963      Report of the intangible valuation of a company.

      NuCO2_Priv_1068     Email transmitting the purchase price valuation of a company.

      NuCO2_Priv_1125     Praxair’s acquisition model of a company.

      NuCO2_Priv_1129     Further communications about Praxair’s acquisition model in
                          NuCO2_Priv_1125.
      NuCO2_Priv_1202     Emails sharing sales details, assets lists, and documents relating to
                          a company.
      NuCO2_ Priv_837     Emailing sharing article on the California Carbon Auction results.

      NuCO2_ Priv_1065    Communications regarding sales information and the customer
                          transition of newly acquired company.
      NuCO2_ Priv_1066    Communications regarding sales information and the customer
                          transition of newly acquired company.
      NuCO2_Priv_322      Communications about updating NuCO2’s customer account to
                          reflect the customer’s acquisition of other stores.
      NuCO2_Priv_323      Communications about updating NuCO2’s customer account to
                          reflect the customer’s acquisition of other stores.
      NuCO2_Priv_341      Communications about updating NuCO2’s customer account to
                          reflect the customer’s acquisition of other stores.
      NuCO2_Priv_1069     Communications about updating NuCO2’s customer account to
                          reflect the customer’s acquisition of other stores.
      NuCO2_Priv_1204     Documents related to the acquisition of a company.

      NuCO2_170723        Contract data reports of a customer.

      NuCO2_ Priv_1240    Internal email request and response regarding processing two “new
                          owner locations”.
      NuCO2_Priv_854      Emails sharing proposed communications regarding the
                          Praxair/Linde merger.
      NuCO2_Priv_855      Emails sharing proposed communications regarding the
                          Praxair/Linde merger.
      NuCO2_Priv_864      Communications regarding the Praxair/Linde merger.

      NuCO2_Priv_865      Communications regarding the Praxair/Linde merger.

      NuCO2_Priv_0753     Emails compiling topics to discuss with legal counsel.

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        BATES NUMBER                                  DESCRIPTION
      NuCO2_Priv_1247     Internal emails concerning administrative issues.
      NUCO2_Priv_4        Emails between NuCO2 and chain customer about cancelling
                          service and whether multi-location agreement exists.
      NuCO2_Priv_4.1      Standard form contract and store listings.
      NuCO2_Priv_4.2      Certified letter from customer’s counsel pertaining to dispute over
                          unrelated issue.
      NuCO2_Priv_4.4      Letter from customer counsel pertaining to dispute over unrelated
                          issue.
      NuCO2_Priv_39.1     Letter from competitor with offer for customer.
      NuCO2_Priv_44       Internal emails pertaining to the company’s ability to respond to a
                          subpoena.
      NuCO2_Priv_65       Employees conveying advice of legal counsel and requesting action
                          in compliance with the advice of counsel.
      NuCO2_Priv_65.2     Includes attorney and for the primary purpose of conveying and
                          receiving legal counsel.
      NuCO2_Priv_65.3     Letter from customer’s attorney about equipment service issues.
      NuCO2_Priv_95       Internal emails pertaining to a letter received from an attorney for
                          a client, seeking legal advice.
      NuCO2_Priv_95.1     Records of interactions with customer on unrelated issue.
      NuCO2_Priv_95.2     Standard product supply agreement.
      NuCO2_Priv_100      Email about whether customer signed agreement.
      NuCO2_Priv_100.1    Standard product supply agreement.

      NuCO2_Priv_100.2    Standard product supply agreement.
      NuCO2_Priv_100.3    Additional location agreement.
      NuCO2_Priv_122.1    Email with customer about rental of bulk and generator and signing
                          agreement.
      NuCO2_Priv_133      Emails about customer cancellation over customer service issues.
      NuCO2_Priv_133.1    Records of interactions with customer over customer service issues
                          and resulting cancellation.
      NuCO2_Priv_138      Email forwarding letter from customer attorney on unrelated issues.
      NuCO2_Priv_155      Email header without substantive relevance.
      NuCO2_Priv_155.1    List of customers with outstanding debt.
      NuCO2_Priv_174      Emails discussing whether attachments/addendums to agreement
                          exist.
      NuCO2_Priv_176.1    Customer data sheet without clear relevance.
      NuCO2_Priv_177.2    Standard product supply agreement.
      NuCO2_Priv_182.1    Plan cost information.
      NuCO2_Priv_182.3    Customer information without substantive relevance to the current
                          issues.
      NuCO2_Priv_182.4    Internal emails between NuCO2 non-legal employees preparing for
                          earlier meeting with customer.
      NuCO2_Priv_186.1    Email chain including in-house counsel and pertaining to drafting
                          cease and desist letter.

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        BATES NUMBER                                 DESCRIPTION
      NuCO2_Priv_186.2    Email chain seeking legal counsel pertaining to rights under
                          contract.
      NuCO2_Priv_186.3    Email chain between NuCO2 employees discussing customer’s
                          dispute of renewal of contract and whether negotiations were
                          misrepresented.
      NuCO2_Priv_186.4    Giant image of email footer graphic.
      NuCO2_Priv_186.5    Email between NuCO2 employee and customer asking about tank
                          displacement and indicating company’s stance on contract renewal.
      NuCO2_Priv_186.6    Copy of renewal provision of contract.
      NuCO2_Priv_186.7    Email from customer detailing his company’s position on contract
                          dispute, then acknowledgement of the same by NuCO2 employee.
      NuCO2_Priv_186.8    Giant image of email footer.
      NuCO2_Priv_186.9    Email to customer with no body text other than “Thank you”
      NuCO2_Priv_186.11   A blank page.
      NuCO2_Priv_186.12   Blank franchisee agreement for restaurant group.
      NuCO2_Priv_186.13   A blank page.
      NuCO2_Priv_186.14   Standard form product supply agreement and addendum for
                          termination for cause.
      NuCO2_Priv_186.15   A blank page.
      NuCO2_Priv_194.2    Customer invoice for overpayments.
      NuCO2_Priv_205.3    Customer data without any relevant information.
      NuCO2_Priv_223      Exchange about customer’s overdue balances and whether invoices
                          were going to the correct location.
      NuCO2_Priv_223.1    Exchanges about customer’s overdue balances.
      NuCO2_Priv_223.2    Exchanges about customer’s correct billing address.
      NuCO2_Priv_223.3    Exchanges about credits to customer account.
      NuCO2_Priv_223.4    Emails about new pricing agreement and credits to account.
      NuCO2_Priv_223.5    Emails about customer’s overdue bills and email pertaining to
                          employee’s professionalism.
      NuCO2_Priv_223.6    Exchanges about customer’s correct billing address.
      NuCO2_Priv_223.7    Exchanges about application of credits to invoices.
      NuCO2_Priv_223.8    Exchange about a restaurant being out of CO2 and threat to
                          dissolve contract.
      NuCO2_Priv_223.9    Data on customer’s invoices and application of credit.
      NuCO2_Priv_223.10   Data on customer’s locations and open invoice amounts.
      NuCO2_Priv_223.12   Email about shipping to a location.
      NuCO2_Priv_223.13   Standard product supply agreement and store listing.
      NuCO2_Priv_224      Notice of customer intending to dissolve contract because of issues
                          with customer service and equipment.
      NuCO2_Priv_224.1    Denver Fire Dept CO2 regulations and blank application
      NuCO2_Priv_224.2    Colorado Springs CO2 regulations
      NuCO2_Priv_228      Emails between restaurant company and NuCO2 pertaining to
                          delinquent payments and avoiding breach of contract.
      NuCO2_Priv_228.1    Confirmation of company’s payment.

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        BATES NUMBER                                   DESCRIPTION
      NuCO2_Priv_238      Email header between non-legal counsel. Attachments say open
                          invoices.
      NuCO2_Priv_238.1    Email exchange between customer and NuCO2 non-legal staff
                          pertaining to proper billing location and wanting invoice copies.
      NuCO2_Priv_238.2    Sending of previous email thread to non-legal employee.
      NuCO2_Priv_238.3    Forwarding of email chain to non-legal counsel pertaining to
                          settling of unpaid debts.
      NuCO2_Priv_238.4    Record of previous invoices and base credits.
      NuCO2_Priv_238.5    Customer records of invoices and payment dates.
      NuCO2_Priv_242      Emails pertaining to customer’s desire to cancel contract over
                          equipment/customer service issues.
      NuCO2_Priv_242.1    Customer invoice dates list. No additional context.
      NuCO2_Priv_242.3    Copy of executed contract and emails with sales staff for
                          paperwork to process the contract. Also, customer location data.
      NuCO2_Priv_261      Email requesting release of customer from contract over customer
                          service issues.
      NuCO2_Priv_343      Emails about waiving termination fee and tank removal.
      NuCO2_Priv_354      Employees discussing soliciting advice from legal counsel
                          regarding potential litigation.
      NuCO2_Priv_354.1    NuCO2 collection department demand letter to customer for unpaid
                          bills.
      NuCO2_Priv_396X     Email chain between customer’s attorney and NuCO2 staff, and
                          then between NuCO2 staff, pertaining to billing errors and
                          application of credit to the customer account.
      NuCO2_Priv_396.1    Customer invoice/locations records without breakdown.
      NuCO2_Priv_431      Email from non-legal employee about settling dispute with
                          departing customer over unrelated issues.
      NuCO2_Priv_457      Employees solicitating in-house counsel to draft agreement in
                          accordance with discussed terms.
      NuCO2_Priv_457.2    Standard product supply agreement.
      NuCO2_Priv_457.4    Standard product supply agreement.
      NuCO2_Priv_474      Email chain pertaining to question of validity of customer signature
                          on agreement.
      NuCO2_Priv_474.1    Contract of standard form contract.
      NuCO2_Priv_474.2    Signed agreement as to additional location.
      NuCO2_Priv_474.4    Customer location listing, standard agreement, and credit check
                          form.
      NuCO2_Priv_474.5    Emails pertaining to customer complaint over question of signature
                          on contract and other unrelated issues.
      NuCO2_Priv_481      Employee communicating legal advice received with
                          recommendations for changes to proposal.
      NuCO2_Priv_481.1    Letter from customer’s counsel notifying of cancellation as a result
                          of unrelated issues.



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        BATES NUMBER                                  DESCRIPTION
      NuCO2_Priv_481.2    Contract data sheet, previous email from customer, and location
                          listing.
      NuCO2_Priv_564      Emails pertaining to customer’s displeasure with running out of
                          product and lack of resolution.
      NuCO2_Priv_564.1    Customer service record without any relevant information.
      NuCO2_Priv_564.3    Customer service and delivery records.
      NuCO2_Priv_564.4    Records of application of goodwill credit to settle unrelated
                          customer issue.
      NuCO2_Priv_577.1    Blank bill of sale with marking out of one entry spot.
      NuCO2_Priv_599      Email between two non-legal staff employees stating a document
                          has been forwarded to customer’s attorney.
      NuCO2_Priv_599.1    Product supply agreement with blank spaces.
      NuCO2_Priv_602      Employee forwarding email from customer’s attorney, who was
                          hoping to reach agreement to continue business relationship.
      NuCO2_Priv_602.1    Letter from customer’s attorney dealing with contract issues he
                          says aren’t substantive in business terms.
      NuCO2_Priv_602.2    Standard product supply agreement.
      NuCO2_Priv_602.3    Draft agreement created and annotated by customer’s attorney.
      NuCO2_Priv_602.4    Same draft agreement as previous but without annotations.
      NuCO2_Priv_603      Email chain involving customer’s counsel, Praxair in-house
                          counsel, and other non-legal employees pertaining to cancellation
                          of contract and payment of outstanding obligations.
      NuCO2_Priv_603.1    Customer invoice amounts in spreadsheets without breakdowns.
      NuCO2_Priv_610      Email chain between customer’s attorney, Praxair’s attorney, and
                          employees about resolution and termination of contract.
      NuCO2_Priv_610.1    Agreement for release from contract.
      NuCO2_Priv_621      Email exchange between customer’s attorney and non-legal
                          employee of NuCO2 pertaining to settling contractual issue, largely
                          one of formatting and whose fact-pattern is more accurate.
      NuCO2_Priv_621.1    Contract with proposed revisions.
      NuCO2_Priv_893      Email exchange between NuCO2 employee and apparent debt
                          collection agency employee about customer records formatting.
      NuCO2_Priv_893.1    More than 600 pages of customer data.
      NuCO2_Priv_937      Email exchange between employees of NuCO2 and debt collection
                          agency about whether checks were received and service restored.
      NuCO2_Priv_937.1    Invoice for a customer.
      NuCO2_Priv_940      Email header with unidentifiable attachment information.
      NuCO2_Priv_940.1    Listing of account statuses for debt collection agency.
      NuCO2_Priv_943      Emails between debt collector and NuCO2, in which debt collector
                          asks for invoices for customer who has agreed to pay.
      NuCO2_Priv_944      Emails between debt collector and NuCO2 employee clarifying due
                          status and account status.
      NuCO2_Priv_949      Email between debt collector and NuCO2 employee pertaining to
                          invoices and equipment pickup.

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        BATES NUMBER                                  DESCRIPTION
      NuCO2_Priv_949.1    Copy of executed agreement with franchisee.
      NuCO2_Priv_949.3    Copies of invoices without relevant information.
      NuCO2_Priv_949.4    Copies of invoices without relevant information.
      NuCO2_Priv_950      Emails between NuCO2 employees and debt collector pertaining to
                          customer’s attorney disputing validity of contract.
      NuCO2_Priv_950.1    Copy of old executed contract.
      NuCO2_Priv_951      Emails between non-legal NuCO2 employees and collector, with
                          collector asking if there were any problems for customer on
                          NuCO2 end.
      NuCO2_Priv_951.2    Copy of executed contract.
      NuCO2_Priv_958      Emails between customer’s attorney and non-legal employee at
                          NuCO2 pertaining to cancellation and demand for payment.
      NuCO2_Priv_958.1    Copy of executed contract.
      NuCO2_Priv_958.2    Equipment lease/product purchase agreement.
      NuCO2_Priv_1057     Emails between customers and NuCO2 employees discussing term
                          changes.
      NuCO2_Priv_1057.1   Internal emails discussing negotiations and whether terms are
                          acceptable.
      NuCO2_Priv_1057.2   Standard supply agreement.
      NuCO2_Priv_1084.1   Automatic out-of-office email.
      NuCO2_Priv_1088     Email chain predominantly between NuCO2 employees and
                          customer/customer rep pertaining to settling billing disputes so as
                          to resume service.
      NuCO2_Priv_1088.1   Credit card payment confirmation.
      NuCO2_Priv_1102     Approval for reversal of charge for customer.
      NuCO2_Priv_1104     Email chain between legal and non-legal staff pertaining to
                          possible outsourcing issue with client.
      NuCO2_Priv_1104.1   Work order history for customer.
      NuCO2_Priv_1104.2   Contract copies and internal emails about servicing a location.
      NuCO2_Priv_1133     Employees seek legal advice from legal staff pertaining to the
                          company’s position.
      NuCO2_Priv_1133.1   Sparse email forwarding an attachment of a contract.
      NuCO2_Priv_1133.2   Email header for forwarding attachment.
      NuCO2_Priv_1133.3   Copy of a standard form contract.
      NuCO2_Priv_1179     Email to in-house counsel clarifying contractual issue and legal
                          stance.
      NuCO2_Priv_1179.1   Standard product supply agreement.
      NuCO2_Priv_1179.2   A blank page.
      NuCO2_Priv_1179.3   Standard additional location/equipment agreement.
      NuCO2_Priv_1179.4   A blank page.
      NuCO2_Priv_1181.1   Standard equipment/product supply agreement.
      NuCO2_Priv_1181.2   List of customer locations.
      NuCO2_Priv_1188     Email chain about servicing and billing for equipment and getting
                          team on the same page on the issue.

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        BATES NUMBER                                  DESCRIPTION
      NuCO2_Priv_1188.1   Emails clarifying billing situation for equipment and updating on
                          situation with customer.
      NuCO2_Priv_1189.1   Letter from customer’s attorney demanding resolution to incorrect
                          billing and property damage issue.
      NuCO2_Priv_1189.2   A blank page.
      NuCO2_Priv_1189.3   Letter from customer’s attorney pertaining to incorrect billing and
                          property damage issue.
      NuCO2_Priv_1189.4   A blank page.
      NuCO2_Priv_1189.5   Email forwarding email notice from customer’s attorney.
      NuCO2_Priv_1193.1   Letter from customer’s attorney pertaining to incorrect billing and
                          supply issues.
      NuCO2_Priv_1193.2   Emails forwarding on customer lawyer’s email.
      NuCO2_Priv_1198     Emails between displeased small business customer and NuCO2
                          employees pertaining to poor customer service experience and
                          billing issues.
      NuCO2_Priv_1198.1   Unrelated customer invoice.
      NuCO2_Priv_1198.2   Unrelated customer invoice.
      NuCO2_Priv_1198.3   Unrelated customer invoice.
      NuCO2_Priv_1198.4   Unrelated customer invoice.
      NuCO2_Priv_1198.5   Unrelated customer invoice.
      NuCO2_Priv_1198.6   Unrelated customer invoice.
      NuCO2_Priv_1215     Emails between NuCO2 employees requesting copies of contracts,
                          relating to ongoing legal issue, advising to contact in-house
                          counsel, and then doing so. Pertaining to unrelated issues.
      NuCO2_Priv_1215.1   Copy of standard form contract.
      NuCO2_Priv_1215.2   Additional locations agreement.
      NuCO2_Priv_1215.3   Standard product supply agreement.
      NuCO2_Priv_1215.4   Standard product supply agreement.
      NuCO2_Priv_1215.5   Standard product supply agreement.
      NuCO2_Priv_1215.6   Additional agreement for location or equipment.
      NuCO2_Priv_1215.7   Standard product supply agreement.
      NuCO2_Priv_1224     Emails between displeased customer and NuCO2 staff pertaining to
                          settling dispute over supply and unpaid bills.
      NuCO2_Priv_1224.1   A giant “Thank You” on a page.
      NuCO2_Priv_1224.2   A giant corporate logo.
      NuCO2_Priv_1227     Emails between non-legal staff include solicitation of in-house
                          counsel for contractual issues.
      NuCO2_Priv_1227.1   Technical specifications/requirements for local brewery.
      NuCO2_Priv_1227.2   Customer service records.
      NuCO2_Priv_1227.3   Email chain about customer’s technical requirements.
      NuCO2_Priv_1227.4   Emails pertaining to issues of servicing and supply.
      NuCO2_Priv_1227.5   Third-party material about technical requirements.
      NuCO2_126422        Emails pertaining to technician’s actions and proper protocol with
                          equipment.

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        BATES NUMBER                                   DESCRIPTION
      NuCO2_165620        Emails between customer’s rep and then between NuCO2
                          employees pertaining to ongoing effort secure deal, including
                          contract language.
      NuCO2_167486        In-house counsel and non-legal employees are passing along and
                          acquiring information primarily for the purpose of responding to a
                          legal issue.
      NuCO2_170705        Email chain pertaining to customer’s overage charges but primarily
                          the NuCO2 team discussing how the charges are computed and
                          why customer was billed that way.
      NuCO2_172014        Emails indicate and share legal advice/direction from in-house
                          counsel pertaining to contractual issues.
      NuCO2_172886        Email chain including email from competitor and NuCO2’s
                          interactions with the same, damage to customer location, and
                          NuCO2 employees sharing backstory with one another.
      NuCO2_Priv_19       Emails between NUCO2 employees and debt collector pertaining
                          to customer’s unpaid bills and resolution of the same.
      NuCO2_Priv_0088     Email chain between NuCO2 employees and customer, pertaining
                          to incorrect calculations for customer’s bill and resolution of the
                          same.
      NuCO2_Priv_0126     Communications are primarily concerned with legal ability to
                          reach agreement with company, what court would need to approve,
                          and suggestions to contact legal staff for advice.
      NuCO2_Priv_0282     Email chain includes direct request for contract
                          interpretation/legal rights questions for in-house counsel and
                          communication of legal counsel for the same issue.
      NuCO2_Priv_0297     Includes direct request for legal counsel pertaining to contract
                          formation and interpretation. Extent of the email chain pertains to
                          legal issues
      NuCO2_Priv_0332     Emails include direct solicitation and communication of legal
                          advice pertaining to company’s legal obligations and rights.
      NuCO2_Priv_0390     Email chain between NuCO2 employees clarifying overage system
                          calculations.
      NuCO2_Priv_0425     Email chain with customer’s counsel and then between NuCO2
                          pertaining to settling issues with customer, strategy for resolving
                          dispute. Unrelated issues including equipment purchase and
                          contract renegotiation.
      NUCO2_PRIV_298      Internal NuCO2 email communications regarding a customer
                          account that was being acquired by another entity.
                          Emails between NuCO2 employees and a customer’s employees
      NUCO2_PRIV_17194    relating to an alleged safety violation committed by NuCO2
      0 (W/ 309)          employees.

      NUCO2_PRIV_818      NuCO2 paralegal requested information to put a document
                          retention hold on a customer file. The document hold is for
                          litigation surrounding an unrelated issue.

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        BATES NUMBER                                  DESCRIPTION
      NUCO2_PRIV_1052     Communications and documents relating to a dispute between
                          NuCO2 and one of its customers; the issue originates out of an
                          alleged breach of the requirements contract.
      NUCO2_PRIV_1055     The same communication and documents in NuCO2_Priv_1052.
      NUCO2_PRIV_1078     Emails included in NuCO2_Priv_171940 (w/309).
      NuCO2_172294        Internal emails relating to a customer’s request for assistance to
                          deal with a regulatory compliance issue.
      NuCO2_Priv_37       Gathers docs about relationship with client for legal to respond to
                          subpoena in unrelated matter.
      NuCO2_Priv_303      Records request from SSA relating to a customer.
      NuCO2_Priv_822      Oregon DOJ Request re Schooner Lounge; relates to fire code
                          complaint
      NuCO2_Priv_823      Oregon DOJ Request re Schooner Lounge; relates to fire code
                          complaint
      NuCO2_Priv_1205     Legal advice regarding irrelevant lawsuit with a customer.
      NuCO2_Priv_1212     Dispute with customer regarding early termination penalty.
      NuCO2_143727        Praxair business document.
      NuCO2_143734        Praxair business document.
      NuCO2_148989        Praxair business document.
      NuCO2_172391        Redacted portion of an application is personal information.
      NuCO2_Priv_932      IT issue causing them to miss auto billing certain customers.
      NuCO2_Priv_934      IT issue causing them to miss auto billing certain customers.
      NuCO2_Priv_968      Relates to how to account for equipment under new accounting
                          standards.
      NuCO2_Priv_180      Correspondence re Oregon Fire Marshal.
      NuCO2_Priv_253      Correspondence re GA Fire Marshal re CO2 tank location and
                          installation.
      NuCO2_Priv_530      Correspondence re pass/fail CO2 monitor inspections.
      NuCO2_Priv_615      Discussing who is responsible for complying with City of
                          Portland’s requirements for installation of CO2 machines.
      NuCO2_Priv_647      NJ Violations for failed CO2 tank remediations and operating CO2
                          machines without certification.
      NuCO2_Priv_1031     Customer dispute because NuCO2 installed a tank without permit.
      NuCO2_Priv_1160     Communications about preparing policies and rental agreements
                          for CO2 equipment rentals.
      NuCO2_Priv_1161     Email to set up call to discuss business sales strategy and topics
                          related to preparing agreements with clients.
      NuCO2_Priv_1166     Business and legal information regarding NuCO2’s CO2 monitor
                          rentals.
      NuCO2_Priv_1174     Business and legal information regarding NuCO2’s CO2 monitor
                          rentals.
      NuCO2_Priv_1210     Business information regarding a customer price match provision.
      NuCO2_Priv_1223     Communications about whether NuCO2 or customers are
                          responsible for obtaining permits/complying with local regulations.

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        BATES NUMBER                                    DESCRIPTION
      NuCO2_143866        Slideshow on NuCO2 FLEET Operations.
      NuCO2_164752        Management Team key initiatives in various categories such as
                          safety, logistics, and field operations. The action/notes section for
                          the follow categories are redacted: acquisitions, comp. update, and
                          bulk CO2.
      NuCO2_172009        Communications regarding proposed changes in contract with
                          customer.
      NuCO2_Priv_148      Communications about possibly acquiring a different type of Co2
                          monitors.
      NuCO2_Priv_1077     Internal emails about being contacted by a government body about
                          customer. Requesting information/advice from legal counsel.
      NuCO2_Priv_1077.1   Email about requesting legal advice on responding to subpoena.
      NuCO2_Priv_1077.2   Blank page.
      NuCO2_Priv_1077.3   Credit run form from customer.
      NuCO2_Priv_1077.4   Internal emails gathering information to send to legal for
                          government request.
      NuCO2_Priv_1077.6   Blank page.
      NuCO2_Priv_1077.7   Standard product supply agreement.
      NuCO2_Priv_1077.8   Blank page.
      NuCO2_Priv_1077.9   Subpoena from IRS OIG commanding information from NuCO2.
      NuCO2_Priv_1077.1   Blank page.
      0
      NuCO2_Priv_1035     Communications and customer information relating to settlements
                          due to an allegation of property damage by a NuCO2 employee.
      NuCO2_148678        May 2016 NuCO2 Monthly Business Review slideshow, including
                          financial information, growth opportunities, forecasts; etc.
      NuCO2_154046        Communications regarding compliance with gas detection system
                          for inspection.
                          Communications and documents regarding gas detection
      NuCO2_171984 to     requirements in New Jersey.
      172005

      NuCO2_171276 to     Communications and documents related to unrelated regulatory
      172199              topics.
      NuCO2_172047        Communications regarding a customer’s issue with CO2 monitor.
                          The internal emails are redacted.
      NuCO2_170723        Contract data reports of a customer.
      NuCO2_148698        Email thread preparing discussion with McDonald’s regarding
                          price increases.
      NuCO2_121190        Business strategy presentation.
      NuCO2_172900        Communications about CO2 monitor function verification in New
                          Jersey.
      NuCO2_103962        Business info re Linde and NUCO2.
      NuCO2_104805        Meeting agenda.
      NuCO2_173901        Slideshow about NuCO2’s safety metrics.

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        BATES NUMBER                             DESCRIPTION
      NuCO2_179100        Slideshow about NuCO2’s safety metrics.




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                                    ATTACHMENT B
                     RELEVANT SETTLEMENT DOCUMENTS / MUST PRODUCE

    BATES NUMBER                                       DESCRIPTION
  NUCO2_Priv_13         Internal communication between non-attorneys pertaining to Checkers
                        account and price adjustment.
  NuCO2_Priv_13.1       A form explaining how prices are calculated and the email indicates that
                        it is one that gets shared.
  NuCO2_Priv_39         Emails pertaining to contract negotiations that include references to fuel
                        charges and energy surcharge.
  NuCO2_Priv_44.1       Customer profile that includes fuel and energy surcharge data.
  NuCO2_Priv_122.3      Letter from customer’s attorney that includes mention of price
                        increases.
  NuCO2_Priv_122.2      Customer data that includes data on energy prices and price adjustment.
  NuCO2_Priv_122.4      Customer data that includes data on energy prices and price adjustment.
  NuCO2_Priv_131        Email chain with debt collector that includes mention of price increases.
  NuCO2_Priv_131.1      Email chain that includes reference to price increases.
  NuCO2_Priv_138.1      Letter from customer’s attorney that includes references to price
                        disparities.
  NuCO2_Priv_174.1      Copies of customer contract, discussion of customer interaction, and
                        complaint from customer about energy surcharges.
  NuCO2_Priv_177.1      Letter from customer’s attorney that includes references to price
                        increases without proper notice.
  NuCO2_Priv_178.1      Customer data that includes price adjustment and surcharge
                        information.
  NuCO2_Priv_182        Emails between customer and NuCO2 employees pertaining to a lawsuit
                        or threat of a lawsuit regarding unpaid fees, includes mention of annual
                        increase.
  NuCO2_Priv_182.2      Customer data that includes price adjustment and energy prices.
  NuCO2_Priv_185.1      Notice of price increase.
  NuCO2_Priv_185.2      Notice of price increase.
  NuCO2_Priv_186.10     Customer data that includes energy price and price adjustment
                        information.
  NuCO2_Priv_194.1      Letter from customer protesting price increases.
  NuCO2_Priv_205.1      Customer invoices that include energy surcharge information.
  NuCO2_Priv_205.2      Letter from customer’s attorney alleging price increases without proper
                        notice.
  NuCO2_Priv_223.11     Customer invoices that include energy surcharge data.
  NuCO2_Priv_238.6      Customer invoices that include energy surcharge data.
  NuCO2_Priv_238.7      Customer invoices that include energy surcharge data.
  NuCO2_Priv_238.8      Customer store data with surcharge data.
  NuCO2_Priv_242.2      Customer profile in XLS format but with mention of “Engy Price” and
                        price adjustments.
  NuCO2_Priv_261.1      Customer data including “Engy Price” and price adjustments.
  NuCO2_Priv_343.1      Customer data that includes price adjustment information.

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    BATES NUMBER                                   DESCRIPTION
  NuCO2_Priv_431.1    Raw customer data including price adjustment and energy prices.
  NuCO2_Priv_444      Email including status of open escalation for contract terms.
  NuCO2_Priv_444.1    Customer profile data, including fuel and energy surcharges and OE
                      status.
  NuCO2_Priv_444.2    Customer letter and emails that include references to price discrepancies
                      and energy surcharge.
  NuCO2_Priv_457.1    Customer data that includes energy prices, fuel prices, price adjustment.
  NuCO2_Priv_457.3    Customer data that includes price adjustment and energy prices.
  NuCO2_Priv_474.3    Customer data that includes price adjustment data and energy price.
  NuCO2_Priv_481.3    Customer data that includes fuel and energy surcharges.
  NuCO2_Priv_564.2    Customer records that includes information on price adjustment and
                      spaces for energy and fuel prices.
  NuCO2_Priv_577      Emails that include references to fuel surcharge offer, energy surcharge
                      offer.
  NuCO2_Priv_943.1    Customer invoices that include energy surcharge totals by the month.
  NuCO2_Priv_943.2    Customer invoices that include energy surcharge totals by the month.
  NuCO2_Priv_944.1    Customer records that include numbers for energy surcharges.
  NuCO2_Priv_944.2    Customer records that include numbers for energy surcharges.
  NuCO2_Priv_944.3    Customer records that include numbers for energy surcharges.
  NuCO2_Priv_949.2    Customer invoices that include fuel and energy surcharges.
  NuCO2_Priv_949.5    Customer invoices that include fuel and energy surcharges.
  NuCO2_Priv_951.1    Customer invoices that include energy surcharges.
  NuCO2_Priv_1057.3   Customer data that includes price adjustment and surcharge cap
                      information.
  NuCO2_Priv_1057.4   Myriad of documents that include several references to fuel and other
                      surcharges and calculations.
  NuCO2_Priv_1084     Email chain that includes references to open escalation, price increase
                      dispute, and energy costs.
  NuCO2_Priv_1181     Email chain with information for open escalation category.
  NuCO2_Priv_1181.3   Email that includes reference to energy surcharge.
  NuCO2_Priv_1188.2   Customer information that includes energy and fuel prices and
                      indication of price adjustment.
  NuCO2_Priv_1193     Email chain that includes references to price increases and energy fees.
  NuCO2_Priv_1193.3   Customer data that includes energy prices and price adjustment.
  NuCO2_Priv_1215.8   Customer data that includes energy prices and price adjustment.
  NuCO2_166177        Customer data that includes fuel prices and open escalation status.
  NuCO2_Priv_0001     Email chain that includes reference of surcharges by customer’s
                      attorney.
  NuCO2_Priv_0033     Emails that include reference to customer’s unwillingness to pay annual
                      increase.
  NuCO2_Priv_0157     Email chain that includes information about fuel charges.
  NuCO2_Priv_0175     Email documenting history with customer that includes mention of
                      customer’s displeasure with price increases he says were made without
                      proper notice.

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    BATES NUMBER                                     DESCRIPTION
  NuCO2_ Priv_0366    Emails pertaining to customer dispute that includes mention of annual
                      price (inflation) adjustment.
  NuCO2_Priv_0374     Email chain that includes references to topic of annual price
                      adjustments and customer explaining he just learned of one.
  NuCO2_Priv_0427     Email chain pertaining to settling dispute with customer that includes
                      price increases and energy costs.
  NuCO2_Priv_476      Emails pertaining to dispute with customer that includes notification of
                      price increases and open escalation issues.
  NuCO2_Priv_0927     Email chain that includes reference to customer’s displeasure with price
                      increases and alleged lack of notification.
  NuCO2_Priv_0930     Email chain between debt collector sending along customer’s offer to
                      settle, includes price increase reference as to why customer cancelled.
  NuCO2_Priv_0956     Email chain that references customer’s displeasure with price increases.
  NuCO2_Priv_1082     Email chain that includes references to energy price and reference to
                      price increase.
  NuCO2_Priv_1094     Email chain that includes customer’s attorney and NuCO2 employees
                      pertaining to customer’s complaint about unnotified price increases.
  NuCO2_Priv_1218     Email chain between customer’s counsel and NuCO2 employees
                      including references to surcharges and price increase terms.
  NuCO2_Priv_1219     Email chain that mentions surcharges and price increases in customer
                      attorney’s terms.
  NuCO2_Priv_1222     Email chain that includes mentions of surcharges and price increases in
                      attorney’s terms.
  NuCO2_Priv_1077.5   Customer data that includes price adjustment information.
  NuCO2_Priv_95.3     Includes surcharge data.
  NuCO2_Priv_4.3      Mentions fuel prices/price adjustment.




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                                  ATTACHMENT C
         RELEVANT/ PROTECTED BY ATTORNEY-CLIENT PRIVILEGE/ DO NOT PRODUCE

       BATES NUMBER                                   DESCRIPTION
      NuCO2_Priv_0173    Email thread between business employees focused on the collection
                         of, and requests for, information at the request of in-house counsel.
                         The communication would not have occurred but for the
                         contemplation of legal advice, and the communications primary
                         purpose was to provide information to in-house counsel.
      NuCO2_Priv_0219    In-house counsel gave business employee presentations created by
                         the legal department for the purpose of giving legal advice.
      NuCO2_Priv_654     Requests for employee feedback on in-house counsel’s revisions to
                         standard form contracts. The communications’ primary purpose was
                         to provide information to aid in the provision of legal advice.
      NuCO2_Priv_670     Additional communications related to NuCO2_Priv_654.
      NuCO2_Priv_673     Additional communications related to NuCO2_Priv_654 and
                         NuCO2_Priv_670.
      NuCO2_Priv_754     Business employees gathered ideas in contemplation of in-house
                         counsel’s revisions of the form contracts. The primary purpose was
                         to provide in-house counsel with information in anticipation of legal
                         advice.
      NuCO2_Priv_0999    Email thread between business employees and in-house counsel
                         discussing contract negotiations with a customer. The
                         communications would not have occurred but for the contemplation
                         of legal advice. The purpose is to receive legal advice on specific
                         provisions.
      NuCO2_Priv_1019    Exchange between in-house counsel and business employee. The
                         business employee requested legal advice from in-house counsel on
                         contract revisions.
      NuCO2_Priv_1035    In-house counsel requested documents pertaining to a customer’s
                         account. The purpose of the request was for the delivery of legal
                         advice.
      NuCO2_Priv_1103    Email exchange between in-house counsel and business employees
                         concerning contract negotiations with a prospective customer. The
                         purpose was to receive legal advice from in-house counsel.
      NuCO2_Priv_1155    Email thread involving in-house counsel, legal staff, and business
                         employees. The purpose of the exchange was to receive legal advice
                         from in-house counsel on a proposed contract.
      NuCO2_Priv_1157    Same thread as NuCO2_Priv_1155.
      NuCO2_Priv_1197    In-house counsel and business employee exchanged emails regarding
                         in-house counsel’s legal advice on the draft of a contract.
      NuCO2_Priv_1203    A business employee shared the legal advice of in-house counsel
                         with another business employee.
      NuCO2_Priv_1207    In-house counsel and business employee exchanged emails regarding
                         revisions to a general form contract. The primary purpose was the
                         solicitation of legal counsel’s advice on the issue.

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       BATES NUMBER                                    DESCRIPTION
      NuCO2_Priv_1209    Email thread involving a request for legal advice relating to form
                         contracts, and the delivery of legal advice from in-house counsel.
      NuCO2_104193       Business employee directed another employee to speak with in-house
                         counsel for legal advice on a specific matter.
      NuCO2_104807       The redacted section contains legal advice from in-house counsel that
                         is being shared from on business employee to another for the purpose
                         of transmitting the legal advice.
      NuCO2_121375       Email exchange between in-house counsel and business employees
                         regarding allegations made by a customer. The communications are
                         overwhelmingly related to legal advice.
      NuCO2_135183       Business employee requested legal advice from in-house counsel on
                         an issue relating to debt collections.
      NuCO2_135459       Business employees share among each other the legal advice from in-
                         house counsel. The primary purpose of the communication is to
                         disseminate in-house counsel’s legal advice.
      NuCO2_158497       The redacted portion contains the legal advice of in-house counsel.
                         The primary purpose of the communication was to share in-house
                         counsel’s legal advice.
      NuCO2_160612       Redacted portion contains a request for legal advice from in-house
                         counsel; the primary purpose of the communication was to seek legal
                         services from counsel.
      NuCO2_160795       Redacted section contains the legal advice of in-house counsel; the
                         primary purpose of the section is to convey the advice of in-house
                         counsel to another business employee.
      NuCO2_170024       The redacted communication would not have occurred but for the
                         contemplation of legal services. The communication’s primary
                         purpose was a request for legal services.
      NuCO2_170580       Communication’s primary purpose was to transmit the legal advice
                         and work product of legal counsel to another business employee
                         involved in that project.
      NuCO2_170719       The communication would not have occurred but for the
                         contemplation of legal services. Business employees discussed the
                         involvement of, and the need for advice from, legal counsel on a
                         proposed strategy.
      NuCO2_170748       Legal staff and business employees discussed contract revisions for a
                         large customer. The purpose of the communications was to request
                         legal advice from in-house and the delivery of the requested advice.
      NuCO2_170837       The communications share the results of legal advice given by in-
                         house counsel.
      NuCO2_171076       Email from business employee to in-house counsel discussing the
                         latter’s participation in a customer agreement. The communication’s
                         primary purpose was to discuss in-house counsel’s legal advice.
      NuCO2_171176       Email between business employees. The primary purpose of the
                         relevant section is to request and discuss the provision of legal
                         services.

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       BATES NUMBER                                    DESCRIPTION
      NuCO2_171294       Business employees exchange emails involving a discussion of in-
                         house counsel’s legal advice and participation in the drafting process.
      NuCO2_171317       Email thread between various senior level business employees; the
                         primary purpose of the communication being the request for, and
                         receipt of, legal services from in-house counsel.
      NuCO2_171507       Business employees discussed requesting legal services from in-
                         house counsel relating to the modification of existing franchise
                         agreements.
      NuCO2_171639       Communication’s primary purpose is a request for legal services on a
                         specific contractual matter during negotiations.
      NuCO2_171641       Business employees and legal staff discussed modifications to a
                         standard form contract; the communications contain the legal advice
                         of in-house counsel and are entirely legal in nature.
      NuCO2_171660       Business employees exchange emails discussing legal advice from
                         in-house counsel relating to agreement renewals.
      NuCO2_171904       The communication’s purpose is a request for legal services from in-
                         house counsel.
      NuCO2_172009       Business employees and in-house counsel exchanged
                         communications for the purpose of receiving and giving legal advice.
                         all communications contain the delivery of legal advice from in-
                         house counsel.
      NuCO2_172068       Business employees requested legal services from in-house counsel
                         relating to contract negotiations with a government customer.
      NuCO2_172085       The communications contain in-house counsel’s legal advice or
                         business employee discussing said advice.
      NuCO2_172230       The communications contain a request for legal services and discuss
                         the legal advice given by counsel.
      NuCO2_172404       The communication discussed legal advice given by in-house counsel
                         on a draft contract for a customer.
      NuCO2_172417       Business employees discuss and share legal advice from in-house
                         counsel on a collections issue.
      NuCO2_172513       In-house counsel communicated with a senior business employee,
                         informing him of correspondence that was received by in-house
                         counsel.
      NuC02_172643       Business employee requested legal services from in-house counsel.
      NuC02_172712       Busines employees discuss the contract renewal process for several
                         customer accounts; the primary purpose of the communication is to
                         transmit legal advice provided by in-house counsel.
      NuC02_173005       Email thread discussing the input and legal advice given by in-house
                         counsel.
      NuCO2_Priv_17      Business employee gathers feedback in contemplation of legal
                         services from in-house counsel. The primary purpose is to discuss the
                         legal service provided by in-house counsel and how to proceed with
                         future requests.


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       BATES NUMBER                                   DESCRIPTION
      NuC02_Priv_67      Email thread involving in-house counsel and business employees. the
                         communication contains requests for, and the delivery of, legal
                         advice from in-house counsel.
      NuC02_Priv_75      Business employee discuss advice given by in-house counsel and
                         then contemplate further requests for in-house counsel to provide
                         legal advice on.
      NuC02_Priv_379     The communications discuss document production necessary for in-
                         house counsel to provide legal advice. The primary purpose of the
                         communications is to facilitate legal services from in-house counsel.
      NuC02_Priv_539     Exact same document as NuCO2_Priv_0754.
      NuC02_Priv_565Y    Business employee and legal staff discuss potential edits to form
                         agreements. The primary purpose of the communications are the
                         provision and receipt of legal advice from in-house counsel.
      NuC02_Priv_572     Same email as NuC02_Priv_0754 and NuC02_Priv_539.
      NuC02_Priv_627     Business employees and in-house counsel exchanged emails
                         regarding information requested by in-house legal counsel.
      NuC02_Priv_751     Different employee response from the same email in
                         NuC02_Priv_0754.
      NuC02_Priv_752     Different employee response from the same email in
                         NuC02_Priv_0754.
      NuC02_Priv_790     Legal staff notified business employees of a document hold request
                         due to legal issue. Business employee shared the information with
                         necessary employees to provide guidance on compliance.
      NuCO2_Priv_65.1    Email chain includes legal counsel and made for the primary purpose
                         of conveying and receiving legal advice.
      NuCO2_150942       Emails between NuCO2 staff include in-house counsel requesting
                         information so as to handle ongoing legal dispute
      NuCO2_171225       Primary purpose of communication is seeking in-house counsel
                         advice on contractual language and requirements. Also includes
                         indication of what in-house counsel has advised.
      NuCO2_Priv_859     Request from attorney for information on certain purchases by
                         NuCO2 in light impending merger.
      NuCO2_Priv_860     Request from attorney for information on certain purchases by
                         NuCO2 in light impending merger (same as 859).
      NuCO2_Priv_0201    Communications regarding settling a potential claim with a customer.
      NuCO2_Priv_1020    Legal Dept telling client about complaint relating to customer
      NuCO2_171476       Communications regarding how to respond to/negotiate proposed
                         terms of Master Services Agreement with client. Internal emails are
                         redacted.
      NuCO2_Priv_69      The request for advice was in contemplation of legal services from
                         in-house counsel. The purpose of the communication was to provide
                         in-house counsel with the desires of the business employees so that
                         in-house counsel could alter the contract. The communications were
                         limited to company employees.


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       BATES NUMBER                                    DESCRIPTION
      NUCO2_PRIV_74      The email thread is almost the exact same as NuCO2_Priv_69. The
                         same analysis applies.
      NUCO2_PRIV_75      Same email thread as the NuCO2_Priv_74 and NuCO2_Priv_75. The
                         only difference is the employee who offers his feedback. The
                         privilege analysis is identical.




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                                 ATTACHMENT D
             RELEVANT/NO ATTORNEY-CLIENT PRIVILEGE/ MUST BE PRODUCED

       BATES NUMBER                                    DESCRIPTION
      NuCO2_Priv_851     Communications were not made in contemplation of legal advice or
                         services. They were made to transmit internal sales materials.
                         Although in-house counsel was involved in the email thread,
                         counsel’s participation did not relate to the provision of legal
                         services.
      NuCO2_Priv_1182    In-house counsel sent a business employee factual information not
                         related to legal advice or legal services. The communications appears
                         to be a standard business communication absent any legal advice.
                         The attachments are factual information absent any connection that
                         would support privilege.
      NuCO2_114809       The redacted section contains a business employee’s opinion on a
                         legal concept, but it does not contain any legal advice from in-house
                         counsel. The primary purpose of the communication is business
                         related.
      NuCO2_152284       The primary purpose of the communication was to secure permission
                         to include new terms in a customer’s renewal agreement. The
                         approval sought was for business, not legal advice. There is a
                         mention of counsel changing the contract, but within the context it is
                         not a request or relation of legal advice. Rather, it is simply a
                         statement incorporated within the approval of the terms.
      NuCO2_171900       The email is between business employees without any in-house legal
                         counsel involved. No legal advice from counsel is transmitted,
                         requested, or relayed. The defendant has failed to meet its burden.
      NuCO2_172606       The primary purpose of the communication is to encourage an
                         employee to participate in a business proposal. The redacted portion
                         is a mention that in-house counsel reviewed the new agreement, but
                         there is no agreement attached and no legal advice from counsel
                         included.
      NuCO2_Priv_1122    The communication was not made for the purpose of requesting legal
                         advice. It was made for the purpose of requesting business
                         documents. In-house counsel is not involved in the communication in
                         any capacity. Moreover, the attachment is purely factual information
                         that contains no legal advice.
      NuCO2_107823       The communication was not made in contemplation of legal services.
                         The redacted portion mentions the costs of legal services, but the
                         purpose of the communication itself was business related. In-house
                         counsel provided no legal advice or input on the communication.
      NuCO2_143305       The redacted email does not involve the advice or legal services of
                         in-house counsel. The email mentions a form agreement developed
                         by the legal department, but the primary purpose of the
                         communication is business related.


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       BATES NUMBER                                   DESCRIPTION
      NuCO2_167313       The primary purpose of the communication was to respond to the
                         business comments regarding an agreement with a customer.
      NuCO2_Priv_83      This document is a customer file without any communication
                         attached that would support a finding of attorney-client privilege.
                         Absent any indication that the contract contains communications or
                         legal advice from in-house counsel, there is no basis for privilege.
      NuCO2_168211       The document is absent anything related to legal advice from in-
                         house counsel. Its purpose is overwhelmingly business related
      NuCO2_171640       Factual information unconnected to any communication. Neither
                         made in contemplation of legal services nor for the primary purpose
                         of relaying, transmitting, or requesting legal advice.
      NuCO2_109          Communication is duplicative of NuCO2_Priv_851 and does not
                         warrant attorney-client privilege for the same reason.
      NuCO2_Priv_142_    The proposed redacted sections are within factual information not
      Draft Redactions   communications. Furthermore, these sections might mention in-
                         house counsel, but their disclosure will not result in the disclosure of
                         confidential attorney-client communications.
      NuCO2_Priv_346_    The proposed redacted sections are within factual information not
      Draft Redactions   communications. Furthermore, these sections might mention in-
                         house counsel, but their disclosure will not result in the disclosure of
                         confidential attorney-client communications.
      NuCO2_Priv_984_    The proposed redacted sections are within factual information not
      Draft Redactions   communications. Furthermore, these sections might mention in-
                         house counsel, but their disclosure will not result in the disclosure of
                         confidential attorney-client communications.
      NuCO2_Priv_997.4   The proposed redacted sections are within factual information not
      Draft Redactions   communications. Furthermore, these sections might mention in-
                         house counsel, but their disclosure will not result in the disclosure of
                         confidential attorney-client communications.
      NuCO2_Priv_741     The communication does not involve any legal staff and the business
                         employees are not transmitting legal advice from in-house counsel.
                         The purpose of the communication is to transmit edits suggested by
                         business employees to a finalized version of a standardized form
                         contract. The attachments contain factual information that does not
                         reveal attorney-client communications or legal advice from counsel.
      NuCO2_Priv_1124    The communication and attachments are identical to
                         NuCO2_Priv_741 and must be disclosed for the same reasons.
      NuCO2_Priv_875     Business information communicating NuCO2 profits for March
                         2018.
      NuCO2_Priv _ 99    This is the same email thread as _851 and _109. The same analysis
                         applies.
      NuCO2_Priv_512     The communication is between two business employees for the
                         purpose of discussing business. Not related to legal advice from in-
                         house counsel.


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       BATES NUMBER                                    DESCRIPTION
      NuCO2_Priv_522      The communications are between business employees without in-
                          house counsel involved in any fashion. There is no legal advice
                          mentioned, requested, or discussed. This communication and its
                          attachments are purely business.
      NuCO2_Priv_709      The communication was from one business employee to another for
                          informational purposes. It was intended to inform the VP of the
                          status of the customer’s account. There was no legal advice
                          discussed, and the communication was not made in contemplation of
                          legal services.
      NuCO2_Priv_1089     The attachments are emails between NuCO2 and the customer
                          regarding the invoice dispute. There is no legal staff included on the
                          emails, nor are they sent to legal staff. The only thing legal about the
                          communications is that the customer threatens to sue at one point and
                          NuCO2 does the same.
                          NuCO2 2016 business plan review. All has been produced except for
      NuCO2_120694        one line. NuCO2 has not met burden as to why that one line is
                          redacted.
      NuCO2_149022        August 2018 NuCO2 packet re business financials. Most of the
                          document has been turned over except for one line. NuCO2 has not
                          met its burden as to why that one line is redacted.
      NuCO2_170481        Summary regarding costs including fuel. Most of document has been
                          produced except for a small section NuCO2 has not met burden as to
                          why one line is redacted. NuCO2 has not met its burden as to why
                          that small section is redacted.
      NuCO2_170486        Meeting notes regarding profit, loss and other business matters. The
                          entire document has been produced except for one line. NuCO2 has
                          not met its burden as to why that one line is redacted.
      NuCO2_170493        Meeting notes regarding 2018 performance. The entire document has
                          been produced except for one line. NuCO2 has not met its burden as
                          to why that one line is redacted.
      NuCO2_Priv_1017     Charts involving financials for past ten years and asset depreciation.
      _Draft Redactions   The entire document has been produced except for one line. NuCO2
                          has not met its burden as to why that one line is redacted.
                          Business information mentions delivery fees and “out of gas” related
      NuCO2_Priv_1002     content. NuCO2 has not met its burden as to why this this family is
                          privileged.
      NuCO2_173909        2016 NuCO2 Business Review Package containing financial
                          information for NuCO2. Most of this document has been produced
                          except for two lines. NuCO2 has not met its burden as to why those
                          two lines are redacted.
      NuCO2_173928        2017 NuCO2 Business Review Package containing financial
                          information for NuCO2. Most of this document has been produced
                          except for one line. NuCO2 has not met its burden as to why that
                          one line is redacted.


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        BATES NUMBER                                 DESCRIPTION
      NuCO2_Priv_7_Dr    NuCO2 2019 Preliminary plan with fiscal year 2018 forecast and
      aft Redactions     fiscal year 2019 plan. NuCO2 indicated that it plans to produce
                         nearly the entire document except for a few columns. NuCO2 has not
                         met its burden as to why those columns should be redacted.
                         NuCO2 financial information. NuCO2 indicated that it plans to
      NuCO2_Priv_231_    produce nearly the entire document except for one line. NuCO2 has
      draft redactions   not met its burden as to why that one line should be redacted.

      NuCO2_122311       Chart of various client accounts, and their details. Most has been
                         produced except for one redacted line. NuCO2 has not met its burden
                         as to why that one line is redacted.
      NuCO2_179090       2017 NuCO2 Business Review Package presentation. Most of the
                         document has been produced except for one redacted line. NuCO2
                         has not met its burden as to why that one line is redacted.
      NuCO2_103941       NuCO2’s Risks and Opportunity list. Most of document has been
                         produced except for one line. NuCO2 has not met burden as to why
                         one line is redacted. NuCO2 has not met its burden as to why that
                         small section is redacted.
      NuCO2_178849       Internal business review presentation for corporate meeting purposes.
                         Outline corporate strategy and weaknesses. Factual information
                         completely unattached to any communication. The redacted
                         information is unrelated to any legal advice or legal services. There is
                         no discernable reason why it should be considered attorney-client
                         privileged.




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                                  ATTACHMENT E
             ATTORNEY-CLIENT PRIVILEGED IN PART/ PRODUCE AS INSTRUCTED

     BATES NUMBER                                    DESCRIPTION
   NuCO2_Priv_1070    Business employee requested documents on behalf of legal staff. The
                      attachments (1070.1 and 1070.2) contain factual information that does
                      not reveal the contents of the attorney-client communication and was
                      not created for the purpose of providing legal advice; therefore, they
                      must be turned over.
   NuCO2_Priv_1171    Business employee requested legal advice from in-house counsel
                      relating to a customer’s contract. The communication is privileged in
                      part, but the emails from outside counsel sent on 04/03/2016 at 12:00pm
                      are non-confidential and must be produced. The attachment is merely
                      factual information that does not risk revealing any confidential
                      customer information. Therefore, it must be disclosed.
   NuCO2_119643       The first redaction, the 12:13pm email from David Reyes to Peter Craig
                      on 03/03/2017, was made in contemplation of legal services and
                      contains a request for legal service from in-house counsel. The second
                      redaction was not made in contemplation of legal services and does not
                      contain any legal advice; therefore, it must be disclosed.
   NuC02_Priv_0609    Email thread relating to contract negotiations with a customer. The
                      privileged emails contain either the direct advice from in-house counsel
                      on a legal matter, or the transmission of legal advice from one business
                      employee to another. The emails on the second page of the PDF,
                      beginning with the email form Annette Jennings to Peter Craig on
                      5/24/2016 are not privileged because they are not confidential
                      communications between NuCO2 employees.
   NuCO2_Priv_122     Employee contacting in-house counsel specifically for legal advice
                      about responding to a letter from a customer’s attorney. The
                      attachments to NuCO2_Priv_122 are not privileged because they do not
                      contain any factual information that would reveal the contents of
                      attorney-client communications and they are not original productions.
   NuCO2_Priv_176     Employees gathering information for legal mentioning previous
                      conversation with legal counsel pertaining to legal issue. The
                      attachment, 0176.1, contains underlying factual information that does
                      not reveal the contents of the attorney client communication. The
                      attachment must be disclosed but the email thread itself is privileged.
   NuCO2_Priv_177     Email chain that includes legal counsel and communications made in
                      contemplation of legal services from in-house counsel. The discussion
                      between business employees were for the purpose of gathering
                      information in preparation for legal advice. The customer files and letter
                      from outside counsel attached to the email thread do not warrant the
                      application of attorney-client privilege. The customer file information in
                      0177.2 is underlying factual information that does not reveal the
                      contents of privileged communications; therefore it must be disclosed.


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     BATES NUMBER                                    DESCRIPTION
   NuCO2_Priv_178     Internal emails between employees gathering information to provide to
                      legal counsel for purpose of a legal dispute with customer. The email
                      communications include those in NuCO2_Priv_178. The attachment,
                      NuCO2_Priv_0178.1 contains factual information that does not reveal
                      the contents of privileged communications and was not created as a
                      result of legal advice or services; therefore, it must be disclosed.
   NuCO2_Priv_185     Email chain including legal counsel made primarily for purpose of
                      evaluating legal position and contractual issues. The attachments,
                      NuCO2_Priv_0185.1 and NuCO2_Priv_0185.2 are notices sent by
                      NuCO2 and neither contain, nor risk disclosing, any privileged
                      information; they must be disclosed.
   NuCO2_Priv_194     Employees directing questions and gathering information for the
                      purpose of responding to a legal issue presented by a customer’s
                      attorney. Includes in-house counsel in legal capacity. All emails are
                      privileged with the exception of the following: 6/09/2017 at 9:53 am
                      from Matt Butcher to John Templin and Maria Primm; and 6/09/2017 at
                      10:23am from John Templin to Maria Primm. These emails do not
                      contain legal advice from in-house counsel and are communications
                      from business employees for business purposes. Furthermore, the
                      attachments 0194.1 and 0194.2 are not privileged and must be
                      disclosed.
   NuCO2_Priv_205     Employees seek advice and collect information from legal counsel
                      pertaining to ongoing threat of litigation. The following emails are not
                      confidential to NuCO2 employees and must be disclosed: 04/04/2017 at
                      6:49 pm between Maria Primm and Erin Olshever; and 03/31/2017
                      between Erin Olshever and Maria Primm. The attachments contain
                      factual information and non-privileged communications that must be
                      disclosed.
   NuCO2_Priv_1102    The email communication is not privileged as it is between two business
                      employees who are discussing business matters, not legal advice from
                      in-house counsel; therefore, it must be disclosed. The attachment,
                      1102.1, contains communications between an employee and in-house
                      counsel for pertaining to legal/contractual validity concerns. The
                      attachment is privileged.
   NuCO2_Priv_50      Email chain includes communications to in-house counsel requesting
                      legal advice/service to determine company’s rights and obligations
                      under the existing contract. Only the following emails are privileged
                      because they contain legal advice from in-house counsel: 06/25/18 at
                      11:13am from David Markatos to Maria Primm; and 06/22/2018 at
                      12:29 pm from Maria Primm to David Markatos.
   NuCO2_Priv_0193    Email chain in NuCO2_Priv_0194. The following emails must be
                      disclosed as they were not made in contemplation of legal services and
                      do not contain legal advice from in-house counsel: 06/09/2017 at
                      10:23am from John Templin to Maria Primm; 06/09/2017 at 10:53am
                      from Matt Bucher to John Templin and Maria Primm; 06/09/2017 at

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      BATES NUMBER                                   DESCRIPTION
                      11:33am from John Templin to Matt Butcher; and 06/09/2017 at
                      12:22pm from Matt Butcher to John Templin. All attachments must be
                      produced for the same reasons as 0194
   NuCO2_Priv_0212    Emails contain both solicitation for contractual information and advice
                      from in-house counsel and in-house counsel’s directions on specific
                      contractual language and provisions. However, some of the email
                      communications are between business employees for business purpose
                      and do not mention or transmit legal advice from in-house counsel.
                      They are not privileged and must be disclosed; these emails begin with
                      the message from Michael Graham to Brian Potter on 12/20/2018 at
                      4:42pm and end with the email from John Templin to Brian D. Potter on
                      12/20/2018 at 5:54pm.
   NuCO2_Priv_0237    Email chain includes solicitation of legal counsel for purposes of
                      contract issue and requesting in-house counsel’s additional help in
                      speaking with customer’s attorney. The email between NuCO2
                      employees and the customer’s attorney are non-confidential and are not
                      protected by attorney-client privilege. All emails forwarded by David
                      Markatos on 6/20/107 at 3:02pm must be disclosed.
   NuCO2_Priv_1096    Email chain includes communication of information to legal counsel for
                      purposes of legal advice as well as explanation of legal counsel’s
                      position on benefit of amicable resolution versus litigation route. This
                      communication is duplicative of 0194 and 0193.
   NUCO2_PRIV_509     The communications between NuCO2 employees and in-house counsel
                      are privileged because they were made in contemplation of legal advice
                      and contain requests for, or the delivery of, legal advice from in-house
                      counsel. The forwarded email from the customer’s outside counsel, sent
                      by Jessica Hite to Sondra Meyer at 4:46pm on 03/04/16, is not
                      privileged. Furthermore, the attachments are non-confidential
                      communications and factual information that does not reveal any
                      information. They must be disclosed as well.
   NUCO2_PRIV_531     The email thread contains communications made by business
                      employees in contemplation of legal services. The primary purpose of
                      the communication is the provision of legal advice from in-house
                      counsel. The attached documents are customer files and non-
                      confidential communications that do not jeopardize the disclosure of
                      non-confidential information. The attachments must be produced.
   NUCO2_PRIV_791     The communication was sent in contemplation of legal advice. The
                      purpose of the communication was to assist in-house legal counsel with
                      the provision of legal advice. There are privileged communications
                      contained within the attachment NuCO2_Priv_791.1. The privileged
                      communications begin on page 14 of the PDF with the email from
                      David Markatos to John Templin at 9:09am on 11/21/2017 and end on
                      page 16 with the email sent to Peter Craig to John Templin & David
                      Markatos at 10:56am on 11/15/2017.


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      BATES NUMBER                                  DESCRIPTION

   NUCO2_PRIV_1075    Business employee sent legal staff communications regarding customer
                      files requested for litigation. The attached customer file is not privileged
                      as it is factual information that does not reveal the contents of any
                      privileged communications.
   NUCO2_PRIV_1076    Because they are the same communication, the same analysis as
                      NuCO2_Priv_1075 applies.
   NUCO2_PRIV_1099    Privileged in part, but there are non-privileged communications
                      included—emails from customer’s counsel. The NuCO2 emails, which
                      begin with Maria Primm’s email to David Markatos on 4/05/17 at
                      2:59pm, are privileged. The attachments are not privileged because they
                      were sent to a business employee to apprise him of the situation, not for
                      the purpose of providing in-house counsel with materials to provide
                      legal advice.
   NUCO2_PRIV_1100    The communications and attachments were sent in contemplation of
                      legal services: they were sent for the purpose of providing in-house
                      counsel with the information he requested. The communications were
                      confidential to NuCO2 employees. Attachments 1100.4 and 1100.5 are
                      customer information that does not reveal privileged communications,
                      therefore, they must be disclosed.
   NUCO2_PRIV_1211    The communications are between in-house counsel and business
                      employees regarding information necessary for legal counsel to provide
                      legal advice. The attachments are customer files and non-privileged
                      communications. The attachments are not protected because they are
                      factual information that do not reveal the contents of privileged
                      communications; therefore, they must be disclosed.
   NuCO2_Priv_0525    While there are privileged communications within this email thread, not
                      all of the emails share a primary legal purpose. Those emails that are
                      primarily business related, and do not contain legal advice from
                      counsel, are not protected by attorney-client privilege. The following
                      emails must be disclosed: 3/23/2016 email from Russel Vicari to Eric
                      Monroe sent at 2:28pm, 3/23/2016 email from Damarie Cortez to
                      Russell Vicari, 3/31/2016 email from Damarie Cortez to Russel Vicari,
                      3/31/2016 email from Russell Vicari to Eric Monroe, 4/08/2016 email
                      from Eric Monroe to Russel Vicari, 4/13/2016 email from Eric Monroe
                      to Russell Vicari, 4/13/16 email from Russell Vicari to Eric Monroe,
                      and 4/13/2016 email from Vice Giordano to John Templin. These
                      emails do not involve legal advice; any advice is related to business
                      strategies relating to a credit issue.
   NuCO2_Priv_0792    With the exception of an email sent by John Templin at 9:25am on
                      9/25/2018, most of these communications were not made in
                      contemplation of legal services. The rest of the emails were made to
                      coordinate NuCO2’s response to a dispute with a competitor from a
                      business perspective, not a legal one.


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     BATES NUMBER                                   DESCRIPTION
   NUCO2_PRIV_1003    While there is a privileged communication and attachment within this
                      email family, most of the communications are not regarding a primary
                      legal purpose. The email sent by Heather Shepherd at 10:39am on
                      11/21/2018 in NuCO2_Priv_1003, and NuCO2_Priv_1003.1, which
                      appears to reflect changes made by legal counsel are protected. The rest
                      of the family must be disclosed.




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